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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
MEGAN MANNOR, Individually
and on behalf of all
other similarly situated individuals,                Case No. 21-cv-11378
      Plaintiffs,                                    Hon. Stephen J. Murphy, III


v.
AMERILODGE GROUP, LLC.,

      Defendant.
 Noah S. Hurwitz (P74063)                     Allan S. Rubin (P44420)
 NACHTLAW, P.C.                               Daniel C. Waslawski (P78037)
 Attorneys for Plaintiff                      Elyse K. Culberson (P82132)
 101 N. Main Street, Ste. 555                 JACKSON LEWIS P.C.
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                                              (248) 936-1900
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                                              Elyse.Culberson@jacksonlewis.com

     PLAINTIFFS’ MOTION TO STRIKE AFFIRMATIVE DEFENSES

      Plaintiff Megan Mannor, individually and on behalf of all other similarly

situated individuals, by and through her attorneys, NACHTLAW, P.C., respectfully

moves this Court to strike Defendant’s Affirmative Defenses #2, #10 and #13

pursuant to Federal Rule of Civil Procedure 12(f). In support of the motion, Plaintiff

states as follows:


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      1.     Plaintiff and other similarly situated individuals were employed as

Assistant General Managers (hereinafter “AGMs”) at hotels owned by Defendant

Amerilodge Group, LCC (hereinafter “Defendant”) hotels. (ECF No. 1, PageID. 2.)

Plaintiffs’ claims arise out of Defendant’s acts to misclassify its AGMs as overtime

exempt employees in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C.

§§ 201, et seq. Id.

      2.     On August 10, 2021, Defendant filed its First Amended Answer to

Plaintiff’s Complaint and Affirmative Defenses. (ECF No. 10.)

                       Defendant’s Affirmative Defense #2

      3.     Defendant’s Affirmative Defense #2 states, “Plaintiff’s claims, and

some or all the claims of the putative collective class, are barred by the existence of

an arbitration agreement containing class and collective action waivers such that this

case must be litigated individually and in arbitration.”

      4.     Plaintiff filed this action without knowledge of any purported

arbitration agreement because Defendant failed to provide Plaintiff with a personnel

file pursuant to a February 23, 2021 request.

      5.     On Thursday, August 26, 2021, Defendant for the first time provided

Plaintiff with bates numbered documents Amerilodge (Mannor) 000001-000026.

(Exhibit 1, 000001-000026.) The documents contain (a) the Amerilodge Group

Employee Handbook (3/1/2917 Edition); (b) an unsigned document titled “Contract


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Between Employee and Amerilodge Group, LLC and Acknowledgement and

Acceptance of Employee Handbook”; and (c) a separate unpaginated document

titled “Acknowledgement and Receipt,” which contains Plaintiff’s printed name,

employee number and the date October 24, 2019. Id.

      6.     The “Contract Between Employee and Amerilodge Group, LLC and

Acknowledgement and Acceptance of Employee Handbook” contains lines for

Defendant and Plaintiff to sign, but the document is entirely unsigned. Id.

      7.     The separate unpaginated document titled “Acknowledgement and

Receipt,” which contains Plaintiff’s printed name, employee number and the date

October 24, 2019, purports to be Plaintiff’s signed acknowledgement of the

Employee Handbook.

      8.     However, Plaintiff can proceed with her lawsuit because the Employee

Handbook containing the unsigned document titled “Contract Between Employee

and Amerilodge Group, LLC and Acknowledgement and Acceptance of Employee

Handbook” invalidates the arbitration language when it states, “Nothing in this

handbook constitutes a contract or an offer to enter into a contract . . . Amerilodge

reserves the right to modify or terminate any of its policies or rules at any time with

or without notice.” See Exhibit 1, 000002.

      9.     Pursuant to the Michigan Supreme Court’s holding in Heurtebise v.

Reliable Bus. Computers, 452 Mich. 405, 414 (1996) and its progeny, courts do not


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enforce arbitration agreements residing in employee handbooks that specifically

state they do not form a contract between the employer and employee.

                         Defendant’s Affirmative Defense #10

      10.       Defendant’s Affirmative Defense #10 states, “Plaintiff’s attempt to

pursue her claim as a collective action violates Defendant’s constitutional rights to

due process because Defendant has a due process right to raise every defense

applicable to Plaintiff, opt-in plaintiffs, and putative class members at every stage of

this action.”

      11.       Plaintiff moves to strike Affirmative Defense #10 because Defendant

fails to show that its defenses are individually tailored to both named and unnamed

plaintiffs, and instead merely relies on conclusory statements.

      12.       Defendant will likely argue that its constitutional rights to due process

permit it to raise individualized defenses for each opt-in plaintiff in this collective

action lawsuit. However, the Sixth Circuit has already held that individualized

defenses alone do not warrant decertification where sufficient common issues or job

traits otherwise permit collective litigation. See Monroe v. FTS USA, LLC, 860 F.3d

389, 404 (6th Cir. 2017)

                         Defendant’s Affirmative Defense #13

      13.       Defendant’s Affirmative Defense #13 states, “To the extent overtime is

owed, it is owed on a half-time basis.”


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      14.    Defendant’s Affirmative Defense #13 likely relies on Overnight Motor

Transportation Co. V. Missel, which held that employees who work beyond 40 hours

in a given work week should be calculated at a rate not less than on-half of the

employee’s regular rate of pay. However, Affirmative Defense #13 should be

stricken because courts within the Sixth Circuit have precluded employers from

retroactively applying the “half-time” method in FLSA misclassification cases.

      15.    Accordingly, Plaintiffs move this Court to strike Defendant’s

Affirmative Defenses #2, #10 and #13 because at this juncture these affirmative

defenses cannot succeed despite any state of the facts which could be proved in

support of the defense and are inferable from the pleadings.

      16.    Pursuant to L.R. 7.1, Plaintiff requested Defendant’s concurrence for

the relief sought in the instant Motion on August 4, 2021. After a series of emails,

Defendant did not concur in the relief sought.

      WHEREFORE, for the reasons stated above as well as those stated in the

accompanying Brief in Support, Plaintiffs respectfully request that this Court grant

this Motion to Strike.

                                                   Respectfully submitted
                                                   NACHTLAW, P.C.
                                                   /s/ Noah S. Hurwitz
                                                   Noah S. Hurwitz (P74063)
                                                   Attorney for Plaintiff

Date: August 30, 2021

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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION
MEGAN MANNOR, Individually
and on behalf of all
other similarly situated individuals,          Case No. 21-cv-11378
      Plaintiffs,                              Hon. Stephen J. Murphy, III


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                                        Elyse.Culberson@jacksonlewis.com

                 BRIEF IN SUPPORT OF PLAINTIFF’S
             MOTION TO STRIKE AFFIRMATIVE DEFENSES
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                 STATEMENT OF QUESTIONS PRESENTED
       I.     Whether the employee handbook acknowledgement at issue here
constitutes a binding contract where it states that “[n]othing in this handbook
constitutes a contract or an offer to enter into a contract . . . Amerilodge reserves the
right to modify or terminate any of its policies or rules at any time with or without
notice” and courts have consistently declined to enforce arbitration agreements that
specifically state they do not form a contract between the employer and employee.
Plaintiff answers “No”

This Court Should Answer “No”

      II.    Whether Defendant possesses a constitutional due process right to raise
separate individualized defenses for each plaintiff in this opt-in lawsuit under the
FLSA.

Plaintiff answers “No.”

This Court should answer “No.”

       III. Whether the FWW calculation can be applied retroactively in an opt-in
misclassification case to compensate employees’ owed overtime wages at a rate not
less than one-half of the employees’ regular rate of pay.

Plaintiff answers “No.”

This Court should answer “No.”




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                            STATEMENT OF FACTS
      Defendant operates several hotels in Indiana, Ohio, and Michigan. (ECF No.

7, PageID.23.)     Plaintiff was employed as an Assistant General Manager at

Defendant’s hotel. (ECF No. 7, PageID. 24.) Plaintiff alleges that Defendant

misclassify its Assistant General Managers as overtime exempt employees in

violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. (ECF

No. 1, PageID. 2.)

      Defendant’s Affirmative Defense #2 states, “Plaintiff’s claims, and some or

all the claims of the putative collective class, are barred by the existence of an

arbitration agreement containing class and collective action waivers such that this

case must be litigated individually and in arbitration.” (ECF No. 10, PageID. 48.)

Defendant’s Affirmative Defense #10 states, “Plaintiff’s attempt to pursue her claim

as a collective action violates Defendant’s constitutional rights to due process

because Defendant has a due process right to raise every defense applicable to

Plaintiff, opt-in plaintiffs, and putative class members at every stage of this action.”

(ECF No. 10, PageID. 50.) Defendant’s Affirmative Defense #13 states, “[t]o the

extent overtime is owed, it is owed on a half-time basis.” Id.

      Defendant produced to Plaintiff an employee handbook bates numbered as

documents “Amerilodge (Mannor) 000001-000026.” (Exhibit 1, 000001-000026.)

The documents contain (a) the Amerilodge Group Employee Handbook (3/1/2917


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Edition); (b) an unsigned document titled “Contract Between Employee and

Amerilodge Group, LLC and Acknowledgement and Acceptance of Employee

Handbook”; and (c) a separate unpaginated document titled “Acknowledgement and

Receipt,” which contains Plaintiff’s printed name, employee number and the date

October 24, 2019. Id. The “Contract Between Employee and Amerilodge Group,

LLC and Acknowledgement and Acceptance of Employee Handbook” contains lines

for Defendant and Plaintiff to sign, but the document is entirely unsigned. Id. A

separate unpaginated document titled “Acknowledgement and Receipt,” which

contains Plaintiff’s printed name, employee number and the date October 24, 2019,

purports to be Plaintiff’s signed acknowledgement of the Employee Handbook.

                            STANDARD OF REVIEW

      Fed R Civ P 12(f) provides that “[t]he court may strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous

matter.” The function of the motion is to “avoid the expenditure of time and money

that must arise from litigating spurious issues by dispensing with” them early in the

case. Kennedy v. City of Cleveland, 797 F.2d 297, 305 (6th Cir. 1986). “Ultimately,

the decision to strike a pleading is firmly within the discretion of the court.”

Ameriwood Industries Intern Corp. v. Arthur Andersen & Co., 961 F. Supp. 1078,

1083 (W.D. Mich. 1997). Additionally, the Sixth Circuit has found that “[a] motion

to strike should be granted if it appears to a certainty that plaintiffs would succeed


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despite any state of the facts which could be proved in support of the defense and

are inferable from the pleadings.” Operating Engineers Local 324 Health Care Plan

v. G & W Const. Co., 783 F.3d 1045, 1050 (6th Cir. 2015). This District has found

that "[s]triking an affirmative defense pursuant to Rule 12(f) is also proper if it aids

in eliminating spurious issues before trial, thereby streamlining the litigation.”

Federal Nat’l Mortg. Ass’n. v. Emperian at Riverfront, LLC, No 11-14119, 2013

WL 5500027, at *7 (E.D. Mich. Oct 3, 2013).

                                    ARGUMENT

      At issue in this motion is whether (a) Plaintiff will be required to arbitrate her

FLSA claim; (b) Defendant is entitled under due process to raise individualized

defenses against Plaintiff, opt-in plaintiffs, and putative class members at every stage

of this action; and (c) Whether the half-time calculation methodology can be applied

retroactively in an opt-in misclassification case.       For the following reasons,

Defendant’s Affirmative Defenses #2, #10 and #13 do not pass muster based on the

present set of undisputed facts and must be stricken from Defendant’s August 10,

2021 Amended Complaint.

I.    DEFENDANT’S AFFIRMATIVE DEFENSE #2 SHOULD BE
      STRICKEN BECAUSE THE PARTIES NEVER FORMED A VALID
      CONTRACT TO ARBITRATE.

      It is undisputed that an arbitration provision is unenforceable if it is not a

binding contract. Heurtebise v. Reliable Business Computers, Inc., 550 N.W.2d 243,

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247 (Mich.1996). The Court reviews enforceability of arbitration agreements in line

with general state law for contract formation. “State law . . . is applicable to

determine which contracts are binding . . . concerning the validity, revocability, and

enforceability of contracts generally.”    Hergenreder v. Bickford Senior Living

Group, LLC, 656 F.3d 411, 416-17 (6th Cir. 2011), quoting Arthur Andersen LLP v.

Carlisle, 556 U.S. 624, 630-31 (2009). Contract formation under Michigan law

requires (1) parties competent to contract; (2) a proper subject matter; (3) legal

consideration; (4) mutuality of agreement; and (5) mutuality of obligation. Id. at

417. Here, the “Contract Between Employee and Amerilodge Group, LLC and

Acknowledgement and Acceptance of Employee Handbook” that is attached to the

Employee Handbook is unenforceable because (a) the contract is not signed by either

Plaintiff or Defendant; and (b) Plaintiff’s purported signature on a separate

document titled “Acknowledgement and Receipt” that fails to mention anything

about arbitration does not constitute a binding arbitration contract due to lack of

mutuality of agreement or mutuality of obligation.

      There are three documents included within Exhibit 1 that are critical to this

issue. The first is the Amerilodge Group Employee Handbook (3/1/2917 Edition).

(see Exhibit 1, Amerilodge(Mannor)000001—000023.)              There is a separate

document titled “Contract Between Employee and Amerilodge Group, LLC and

Acknowledgement and Acceptance of Employee Handbook” that has not been


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signed by either party. Id. at 000024—000025.) Finally, there is another separate

unpaginated document titled “Acknowledgement and Receipt,” which contains

Plaintiff’s printed name, employee number and the date October 24, 2019. Id. at

000026. The documents, treated individually or as a whole, do not legally bind

Plaintiff to arbitrate her claims against Defendant.

      Whether the parties have mutually agreed to be bound “is judged by an

objective standard, looking to the express words of the parties and their visible acts,

not their subjective states of mind.”      Kloian v. Domino’s Pizza L.L.C., 273

Mich.App. 449, 733 N.W.2d 766, 770 (2006). The party seeking to enforce a

contract has the burden of showing that it exists. Hammel v. Foor, 359 Mich. 392,

102 N.W.2d 196, 200 (1960). The arbitration provision in the “Contract Between

Employee and Amerilodge Group, LLC and Acknowledgement and Acceptance of

Employee Handbook” objectively does not constitute a binding contract because the

document contains signatory lines for Defendant and Plaintiff to sign, but the

document is not signed by either party.

      Likewise, the separate unpaginated document titled “Acknowledgement and

Receipt” does not constitute a binding contract because, although the document

purports to be Plaintiff’s signed acknowledgement of the Employee Handbook, it is

undisputed that Page Two of Employee Handbook states, “[n]othing in this

handbook constitutes a contract or an offer to enter into a contract . . . Amerilodge


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reserves the right to modify or terminate any of its policies or rules at any time with

or without notice.” See Exhibit 1, 000002. Of course, courts do not enforce

arbitration provisions within handbooks that specifically state they do not form a

contract between the employer and employee. Hergenreder, 656 F.3d at 418;

Heurtebise, 452 Mich. at 414; Seawright v. Am. Gen. Fin. Servs., Inc., 507 F.3d 967,

979 (6th Cir. 2007). Moreover, “an illusory promise arises when a promisor retains

the right to decide whether or not to perform the promised act.” Floss v. Ryan's

Family Steak Houses, Inc., 211 F.3d 306, 315 (6th Cir. 2000). Here, because the

Employee Handbook contains the express caveat that it is not a contract, Defendant’s

arbitration language in the Employee Handbook is illusory and unenforceable.

      Even if Plaintiff signed the “Acknowledgment and Receipt” document

electronically (which Plaintiff will later testify she did not—although that is not

relevant for this motion), Plaintiff was only agreeing to a document that did not

contain a contractual obligation to arbitrate in lieu of filing a lawsuit. In Heurtebise,

the Michigan Supreme Court addressed whether an arbitration provision found in an

employee handbook was binding on an employee. Heurtebise, 452 Mich. at 407-09.

The Heurtebise plaintiff had signed an acknowledgment form stating that she agreed

to be bound by the terms of the handbook. Id. at 408-409. However, the handbook

also stated that “the Policies specified herein do not create any employment or

personal contract, express or implied,” and that the employer had the right to change


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the company’s policies in the handbook “at its sole discretion.” Id. at 413. The

Michigan Supreme Court held that this language demonstrated the employer did not

intend to be bound by the provisions contained in the handbook, and, thus, the

handbook did not create an enforceable contract. Id. at 414.

      As in Heurtebise, the Employee Handbook at issue here demonstrates that

Defendant never intended to create a contract. Page Two of the Employee Handbook

explicitly states that “[n]othing in this handbook constitutes a contract or an offer to

enter into a contract.” See Exhibit 1, 000002. Moreover, Defendant reserved the

ability to unilaterally change or modify the policies contained in the Handbook, with

or without notice to the employees when it stated, “Amerilodge reserves the right to

modify or terminate any of its policies or rules at any time with or without notice.”

Id. This language, as in Heurtebise, demonstrates that Defendant did not intend to

be bound to any provision contained in the Employee Handbook.                  Looking

objectively at the words in the Employee Handbook, it is abundantly clear that

Defendant did not intend to be bound by its contents. That is precisely why there

was a separate standalone arbitration agreement titled “Contract Between Employee

and Amerilodge Group, LLC and Acknowledgement and Acceptance of Employee

Handbook.”     However, since it is undisputed that the standalone arbitration

agreement was not signed, this matter is analogous to Heurtebise and there is no

enforceable contract to arbitrate.


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    II.   DEFENDANT DOES NOT POSSESS A CONSTITUTIONAL RIGHT
          TO “RAISE EVERY DEFENSE APPLICABLE TO PLAINTIFF, OPT-
          IN PLAINTIFFS, AND PUTATIVE CLASS MEMBERS AT EVERY
          STAGE OF THIS ACTION.”

          Defendant’s Affirmative Defense #10 states, “Plaintiff’s attempt to pursue her

claim as a collective action violates Defendant’s constitutional rights to due process

because Defendant has a due process right to raise every defense applicable to

Plaintiff, opt-in plaintiffs, and putative class members at every stage of this action.”

(ECF No. 10, PageID. 50.) When Plaintiff’s counsel sought concurrence on a

request to voluntarily strike Affirmative Defense #10, Defendant relied on legal

authority that is inapposite to FLSA collective action matters.1 Critically, however,

none of these cases pertain to FLSA collective actions.

          In contrast to Rule 23 class actions, an FLSA collective action is not subject

to the numerosity, commonality, typicality, and representativeness requirements of



1
  Defense Counsel cited the following: Machesney v. Lar-Bev of Howell, Inc., No.
10-10085, at *39 (E.D. Mich. Apr. 22, 2013) ("As the Supreme Court has noted, a
'class cannot be certified on the premise that [a defendant] will not be entitled to
litigate its statutory defenses to individual claims.'"); Compressor Eng'g Corp. v.
Mfrs. Fin. Corp., 292 F.R.D. 433, 454 (E.D. Mich. 2013) ("As the Supreme Court
has noted, a ' class cannot be certified on the premise that [a defendant] will not be
entitled to litigate its statutory defenses to individual claims. '"); APB Associates,
Inc. v. Bronco's Saloon, Inc., 297 F.R.D. 302, 322 (E.D. Mich. 2013) ("As the
Supreme Court has noted, a ' class cannot be certified on the premise that [a
defendant] will not be entitled to litigate its statutory defenses to individual
claims.'"); In re OnStar Contract Litig., 278 F.R.D. 352, 375 (E.D. Mich. 2011) ("As
this Court explained in Serrano, where a defendant has unique defenses against each
class member's individual claim, a case is unsuitable for class action.”).
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a traditional Rule 23 class action. Whalen v. United States, 85 Fed. Cl. 380, 383

(2009). To participate in FLSA collective actions, “all plaintiffs must signal in

writing their affirmative consent to participate in the action.” Comer v. Wal-Mart

Stores, Inc., 454 F.3d 544, 546 (6th Cir. 2006). And only “similarly situated”

persons may opt into such actions. Id. Courts typically bifurcate certifications of

FLSA collective action cases. At the notice stage, conditional certification may be

given along with judicial authorization to notify similarly situated employees of the

action. Id. Once discovery has concluded, the court—with more information on

which to base its decision and thus under a more exacting standard—looks more

closely at whether the members of the class are similarly situated. Id. at 547.

      Regarding individualized defenses in FLSA opt-in cases, several circuits,

including the Sixth Circuit, have held that individualized defenses alone do not

warrant decertification where sufficient common issues or job traits otherwise permit

collective litigation. See Monroe v. FTS USA, LLC, 860 F.3d 389, 404 (6th Cir.

2017) (“we cannot say that the district court committed a clear error of judgment in

refusing to decertify the collective action on the basis of [defendants] claimed right

to examine and raise defenses separately against each of the opt-in plaintiffs);

Thiessen v. Gen. Elec. Cap. Corp., 267 F.3d 1095, 1111 (10th Cir. 2001) (concluding

that district court abused its discretion in decertifying the class because defendants’

“highly individualized” defenses could be dealt with at the damages stage of trial).


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       In the present action, all Plaintiffs, named and unnamed, will share the same

position (Assistant General Manager) and have held the title within the last three

years. Defendant cannot therefore claim that each plaintiff has an individual defense

in order to escape its failure to pay its employees justifiable overtime wages and/or

defeat certification. All putative class members would be exempt from the overtime

pay requirements of the FLSA and applicable state law, regardless of property

location, prior experience, number of assistant managers in a location, etc. The issue

instead is whether Defendant’s assistant general managers are misclassified as

exempt employees under the executive exemption, which will turn on more general

questions of fact such as Plaintiff’s ability to hire or fire, and her performance of

non-managerial tasks (e.g., cleaning, housekeeping, reception desk, and

maintenance). Accordingly, Defendant has no constitutional due process right to

raise individual defenses against putative class members and this Court should strike

Defendant’s Affirmative Defense #10.

III.   DEFENDANT’S AFFIRMATIVE DEFENSE #13 SHOULD BE
       STRICKEN BECAUSE LEGAL AUTHORITY IN THIS CIRCUIT
       DOES NOT FAVOR THE RETROACTIVE APPLICATION OF THE
       HALF-TIME METHOD IN FLSA MISCLASSIFICATION CASES.

       Defendant’s Affirmative Defense #13 states, “[t]o the extent overtime is

owed, it is owed on a half-time basis.” (ECF No. 10, PageID. 50.) However, the

FLSA “generally requires covered employers to pay... overtime compensation for

hours of work exceeding forty (40) in a workweek at a rate of one and on-half times
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an employee’s regular rate of pay.” Lewis v. Huntington Nat’l Bank, 833 F.Supp.2d

703 (S.D. Ohio 2012); Citing 29 U.S.C. §§ 206(a), 207(a)(1). Moreover, “the FLSA

is to be construed liberally to further its broad remedial purpose and that ‘exemptions

are to be narrowly construed against the employers.’” Bridewell v. Cinciannti Reds,

155 F.3d 828, 831 (6th Cir. 1998) (quoting Arnold v. Ben Kanowsky, Inc., 361 U.S.

388, 392, 80 S.Ct. 453, 4 L.Ed.2d 393 (1960)).

      If an employer improperly classified a nonexempt employee as exempt, the

employer must compensate the employee for unpaid overtime at time and a half the

employee’s regular rate of pay. Defendant’s Affirmative Defense #13 invokes the

fluctuating work week (“FWW”) methodology for paying overtime for the

proposition that employers do not have to pay time and a half overtime pay to

employees misclassified as exempt. The FWW payment method was first articulated

by the United States Supreme Court when it held in Missel that an employer and

employee could legally agree, in certain circumstances, to a compensation

arrangement where the employee would be paid a flat weekly rate for fluctuating

hours without violating the FLSA, provided that the agreement contained a provision

for overtime pay and the wage was sufficient to satisfy minimum wage requirements

and offer a premium of at least “fifty per cent for the hours actually worked over the

statutory maximum.” Overnight Motor Transp. Co. v. Missel, 316 U.S. 572, 581,

62 S.Ct. 1216, 86 L.Ed. 1682 (1942). The FWW half-time calculation under Missel


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does not differ from the FWW half-time calculation under § 778.114; both Missel

and § 778.114 use the exact same formula. Snodgrass, 2015 WL 1246640 at *7

(S.D. Ohio Mar. 18, 2015). Critically, both Missel and § 778.114 are silent on the

application of the FWW method to misclassification cases. Id.

      Defendant’s Affirmative Defense #13 overlooks the fact that this Circuit’s

legal authority has rejected retroactive application of the half-time FWW method in

FLSA misclassification cases. In Cook. v. Carestar, Inc., No. 2:11-CV-00691, 2013

WL 5477148, at *11 (S.D.Ohio Sept.16, 2013), the trial court rejected the FWW

method and found that in a misclassification case an employee’s rate of pay must be

constructed to what it would have been at “the normal time and a half rate.” Other

district courts within the Sixth Circuit have followed suit, rejecting the use of the

FWW half-time method in misclassification cases. See Stultz v. J.B. Hunt Transp.,

Inc., No. 13–CV–13705, 2014 WL 3708807, at *3 (E.D.Mich. July 28, 2014)

(rejecting application of the FWW method and finding that, “Plaintiff is entitled to

be compensated for hours worked in excess of forty per week at a rate of 1.5 times

his regular hourly rate”); Cowan v. Treetop Enters., 163 F.Supp.2d 930, 941

(M.D.Tenn.2001) (FWW “requires a contemporaneous payment of the half-time

premium for an employer to avail itself of the fluctuating workweek provision”);

Heavenridge v. Ace–Tex Corp., No. 92–75610, 1993 WL 603201, at *4 (E.D.Mich.




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Sept.3, 1993) (finding that FWW does not apply when no clear mutual understanding

existed).

      Defendant not only rejects authority in this Circuit by raising its affirmative

defense, but also authorities elsewhere. See e.g., McCoy v. N. Slope Borough, No.

3:13–CV–00064–SLG, 2013 WL 4510780, at *19 (D.Alaska Aug.26, 2013) (“This

Court is persuaded by the reasoning of those district courts that have concluded that the

FWW method should not be applied in a misclassification case, particularly in light of

the FLSA's remedial purpose.”); Wallace v. Countrywide Home Loans Inc., No. SACV

08–1463–JST, 2013 WL 1944458, at *7 (C.D.Cal. Apr.29, 2013) (“in the context of

misclassification cases, the FWW method should not apply”); Zulewski v. Hershey

Co., Case No. CV 11B05117BKAW, 2013 WL 633402, at *6 (N.D.Cal. Feb.20,

2013) (“the retroactive application of the FWW method in the misclassification

context does not square with [Missel], because [Missel] requires an agreement

between the parties that the fixed weekly salary was compensation for all straight

time [and] such an agreement is not present in misclassification cases”); Ransom v.

M. Patel Enters., Inc., 825 F.Supp.2d 799, 808 (W.D.Tex.2011) (rejecting

retroactive application of the FWW under § 778.114 and Missel). Accordingly, this

Court should strike Defendant’s Affirmative Defense #13 because it is not a valid

affirmative defense in this matter.

                                   CONCLUSION


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      For the reasons stated above, Plaintiff respectfully request that this Court

strike Defendant’s Affirmative Defenses #2, #10 and #13.

                                                    Respectfully submitted,
                                                    NACHTLAW, P.C.


                                                    /s/ Noah S. Hurwitz
                                                    Noah S. Hurwitz (P74063)
                                                    Attorney for Plaintiff

Date: August 30, 2021
                              PROOF OF SERVICE

      The undersigned certifies that on this 30th day of August 2021 a copy of the

foregoing Motion was filed via the Court’s CM/ECF system, which will cause an

electronic copy to be served on all counsel of record.

                                              /s/ Karina Alvarez_______
                                              Karina Alvarez, Litigation Paralegal




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